




Dismissed and Memorandum Opinion filed March 15, 2006








&nbsp;

Dismissed
and Memorandum Opinion filed March 15, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00053-CR

____________

&nbsp;

EX PARTE ERIC HESTON SCHEFFEY

&nbsp;

&nbsp;

&nbsp;



&nbsp;

On Appeal from the
183rd District Court

Harris County, Texas

Trial Court Cause No.
1033698

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A
written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this Court has not delivered
an opinion, we grant appellant=s request.

Accordingly,
we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered and Memorandum
Opinion filed March 15, 2006.

Panel consists of Justices Yates,
Anderson, and Hudson.

Do not publish C Tex.
R. App. P. 47.2(b).





